Case 3:17-cv-01885 Document171-1 Filed 01/04/19 Page 1 of 1 PagelD #: 825

G M Omar Ahmad <oahmad@eveslawfirm.com>

A. E. Vv. Nield et al.

Omar Ahmad <oahmad@eveslawfirm. com> Tue, Jul 17, 2018 at 2:03 PM
To: Steve Nord <sknord@onalegal.com>, "Nathanial A. Kuratomi”
<NAK@jenkinsfenstermaker.com>, Lee Hall <imh@jenkinsfenstermaker.com>, "Ryan Q.
Ashworth" <rqashworth@onalegal.com>

Counsel,

It looks like August 2, 7, 14 and 16 are our best available dates for depositions in this
case. If necessary we can identify additional dates later in August. Steve, please speak
with your client about his availability on one of those dates.

Thanks,

Omar

Omar D. Ahmad, Esq.

Eves Law Firm, PLLC

5348 US GO Fast

Huntington, West Virginia 25705
Tel 304.736.9999
www.eveslawfirm.com

EVES

LAW FIRM

Confidentiality Notice: The infermation contained in this e-mail is being sent by or on hehalf of an
elterney and is intended exclusively for the individual or entity to which it is addressed. This

communicatior is privilesed, proprievsary, confidential and otherwise leqally exempr from disclosure to anyere

other than tre irtended recintent. If yeu are not the intended recipiert, you are not authorcszed to read,
print, retain, copy, diselose or alsseminate this a-mail, any part Lherect, or any attachwent thereto. if

you have received this o-maiil in error, please notify the scnder immediately by e-mail or by telephone (20¢-
746-9995) and delete this e-rail and any copies. There is ne intent om the part of the sender to waive any
privilege that may atbach to this communication. This e-mail message and any attachments have heen scanned
tor viruses and are believed to be free of any virus or other defect. However, it is the recipient's

responsibility to ensure that 4° is virus free. This firm accepts ne responsibility fer any loss or damage

arising from its use.

EXHIBIT

